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 EXHIBIT 56
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            For Settlement Purposes Only
            Fed. R. Evid. 408 and Similar Doctrines

            November 17, 2023

            By Electronic Mail

            Renita S. Rathinam
            McNeely, Hare & Ware, LLP
            5335 Wisconsin Ave, N.W., Suite 440
            Washington, D.C., 20015
            rathinam@miplaw.com

            Re:      Discussions Between Symbology Innovations, LLC and Discord Inc.

            Dear Ms. Rathinam:

            Thank you for returning my call of yesterday, and for speaking with me today. I write to confirm our
            discussion and to propose next steps.

            As an initial matter, I should set forth Discord’s objectives in our discussions. As we have discussed both
            previously and on our call today, Discord has two objectives that it wishes to see in any potential
            agreement between us. First, Discord would like to pay a single amount certain in U.S. dollars. And,
            second, Discord would like that payment to cover patent peace including all assets owned by Leigh
            Rothschild companies. Although other things have changed—Discord hired us as outside counsel, and
            became a member of Unified Patents—these two objectives have remained, for Discord, the twin
            lodestars of its efforts.

            With those lodestar objectives in mind, we can turn to our discussions. As I explained on our call,
            following our previous call on October 27, we reviewed your email of November 3 seeking the best path
            to achieve our objectives. As you explained in that email, “any Rothschild owned/controlled patent assets
            related to such technologies and like-technologies that would be potentially assertable against Discord
            (based on known Discord activities and operations), have indeed been identified and are included in our
            10/17/23 proposed SLA, Exhibit B.” That would seem to indicate that we could achieve Discord’s
            objectives through something along the lines of the proposed agreement you sent on October 17.

            Later in the same email, however, you stated that:

                     On the different issue of Leigh Rothschild controlled/owned entities and that universe of patented
                     technologies, please confirm that Discord is definitely interested in a global structure whereby
                     Discord takes a license to all of such patents (or perhaps a obtaining a CNS with respect to the
                     same). If such is of genuine interest, we suggest proceeding as follows: (1) entry into an NDA by
                     appropriate parties (2) identification of patents constituting the current portfolio (3) providing
                     written confirmation of Discord’s defined interest(s) and (4) proceeding to negotiation.

            This second proposal (like your first proposal) seemed to indicate a path forward under which Discord
            could achieve its lodestar objectives but (unlike your first proposal) seemed to indicate that this path
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would not be through something along the lines of the proposed agreement you sent on October 17.
When we spoke today, I explained our understanding of these points, and noted that we were happy to
proceed on either path, as long as we worked toward our two lodestar objectives.

You then said something new: that you did not represent the other entities necessary to the second path
set forth in your email of November 3, but represented only Symbology, although you could ask
Symbology to facilitate further discussions along the lines set forth in the second path of your
November 3 email. As I explained, we understood your email of November 3, including the paragraph I
have set forth above, to indicate that you were authorized to speak on behalf of the entities sufficient to
reach a global deal. We appreciate the fuller understanding we gained from our discussion.

Discord remains interested in a mutually beneficial resolution of this matter. Toward that end, Discord
seeks to achieve its two lodestar objectives: payment of a single amount certain, covering patent peace
including all assets owned by Leigh Rothschild companies. We are open to various methods of achieving
those objectives, and would be willing to explore either or both of the paths in your email of
November 3—modification of the proposed agreement you sent on October 17, or a different agreement
presumably involving additional entities—as long as the paths we explore lead to completion of Discord’s
lodestar objectives. Of course, the objective of global peace would fail if Symbology or other Leigh
Rothschild companies commenced litigation against Discord, and with it our interest in a mutually
beneficial global resolution. We hope it does not come to that but, since you made some indications on
our call of potential litigation, I would be remiss not to remind you of our position here as well.

As I discussed on our call, now that we have confirmed Discord’s two lodestar objectives, I hope you can
confer with your client to determine a path forward that will meet these objectives. Thank you again for
your time during the call, and for your continued courtesy in this matter.

Very Truly Yours,


Matthew S. Warren
